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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
       Timothy P. Neumann, Esq. [TN6429]
       Geoffrey P. Neumann, Esq. [59702019]                            Order Filed on July 8, 2022
                                                                       by Clerk
       BROEGE, NEUMANN, FISCHER & SHAVER, LLC                          U.S. Bankruptcy Court
       25 Abe Voorhees Drive                                           District of New Jersey
       Manasquan, New Jersey 08736
       Tel: (732) 223-8484
       Email: timothy.neumann25gmail.com
               geoff.neumann@gmail.com
       Attorneys for Debtors-in-Possession,
       George Sariotis and Cindy Sariotis

        In Re:                                                  Case No.: 22-12916

        GEORGE SARIOTIS and                                     Chapter 11
        CINDY SARIOTIS,
                                                                Judge: Michael B. Kaplan
                 Debtors.
                                                                Hearing Date: 5/5/2022


      ORDER AUTHORIZING THE SALE OF DEBTORS’ INTEREST IN REAL PROPERTY
         COMMONLY KNOWN AS 61 REDWOOD DRIVE, MONMOUTH COUNTY,
                  NEW JERSEY FREE AND CLEAR OF LIENS WITH
                 VALID LIENS TO ATTACH TO PROCEEDS OF SALE

     Recommended Local Form: ‫܆‬Followed             ‫ڦ‬   Modified
            The relief set forth on the following pages, numbered two (2) through three (3) is

     hereby ORDERED.




DATED: July 8, 2022
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Caption of Order: Order Approving Sale of Real Property

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        Upon consideration of the application/motion of the Debtors (the “Motion”), for an order

authorizing the sale of 61 Redwood Drive, Monmouth County, New Jersey (the “Property”), and

good cause appearing therefore, it is hereby ORDERED as follows:

   1.      Pursuant to 11 U.S.C. §§363(b), the Debtors are authorized to sell the Property on the

           terms and conditions of the contract of sale as modified.

   2.      The proceeds of sale must be used to satisfy the liens for real estate taxes and other

           municipal liens and the mortgage liens. Until such satisfaction the Property is not free

           and clear of those liens.

   3.      The sale is free and clear of all liens not described in paragraph 2 above, including

           without limitation, tax liens of the United States of America, which liens shall not be

           paid at closing from the proceeds of sale but which, to the extent such liens are valid,

           will attach to the proceeds of sale with the same priority as they had encumbered the

           Property.

   4.      In accordance with D.N.J. LBR 6004-5, the Motion and the Notice of Proposed Private

           Sale included a request to pay the real estate broker(s) identified below at closing.

           Therefore the following professional(s) may be paid at closing.

    Name of professional:             Amount to be paid:               Services rendered:
    Burke & Manna Real Estate         2%                               Seller’s Agent
    Berkshire Hathaway HS Fox & Roach 2%                               Buyer’s Agent
    Peter Roache/Theresa Capuano


   5.      The Purchaser is a “good faith” purchaser under the criteria set forth in In re Abbotts

           Dairies of Pensylvania, Inc. 788 F.2d 143 (3rd Cir. 1986).
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   6.     Other closing fees payable by the Debtors may be satisfied from the proceeds of sale

          and adjustments to the price as provided for in the contract of sale may be made at

          closing.

   7.     This Court shall retain jurisdiction to enforce and implement the provision of this Order

          and to resolve any dispute concerning the sale of the Property, or the rights and duties

          of all interested parties.

   8.     This Order may be recorded with the County Clerk to evidence that the Property was

          authorized to be sold.

   9.     Proper, timely, adequate and sufficient notice of the sale has been provided in

          accordance with 11 U.S.C. §§ 102, 105(a) and 363 and Rules 2002, 6004 and 9014 of

          the Bankruptcy, such notice was good and sufficient, and appropriate under the

          particular circumstances, and no other or further notice of the Sale shall be required

   10.    The 14-day stay of Bankr. Rule 6004(h) does not apply and the sale of the Property can

          be consummated upon entry of this Order.
